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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 In re:
                                                  Case No. 3:25-cv-00331-SFR
 HO WAN KWOK, et al.,

                 Debtors.



     AMAZON WEB SERVICES, INC.’S CORPORATE OWNERSHIP STATEMENT

          Amazon Web Services, Inc. provides the following corporate ownership statement

pursuant to Federal Rule of Civil Procedure 7.1(a). Amazon Web Services, Inc. is wholly owned

by AWSHC, Inc., a Delaware corporation. AWSHC, Inc. is wholly owned by Amazon.com, Inc.,

a Delaware corporation. Amazon.com, Inc. has no parent company, and no other publicly-held

company owns 10% or more of Amazon.com, Inc.’s stock.

Dated: March 14, 2025
       Seattle, Washington.

                                          K&L GATES LLP

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                                          -and-

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 14, 2025, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system or by mail to anyone unable to accept electronic filing. Parties may access this filing

through the Court’s CM/ECF system.

                                                        By: /s/ Brian T. Peterson
                                                             Brian T. Peterson




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